                       Case 1:23-mj-08108-PGL Document 1 Filed 05/01/23 Page 1 of 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         District of
                                                     __________      Massachusetts
                                                                  District of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
                                                                             )
                                                                             )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):



located in the                                    District of                                           , there is now concealed (identify the
person or describe the property to be seized):




          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description



          The application is based on these facts:



               Continued on the attached sheet.
               Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is requested under
               18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                            Benjamin Cote/by Paul G. Levenson
                                                                                                       Applicant’s signature


                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
              Telephone                               (specify reliable electronic means).


             May 1, 2023
Date:
                                                                                                         Judge’s signature

City and state:
                                                                                                       Printed name and title
